                                                                                                         Case 2:20-cv-00470-GMS Document 196 Filed 04/22/22 Page 1 of 2



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                                                                                                   14 Instagram, LLC and WhatsApp LLC

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                                                                                                                                   UNITED STATES DISTRICT COURT
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                                                                                                                                            DISTRICT OF ARIZONA
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                                                                                                        Meta Platforms, Inc., et al.,                Case No. CV-20-470-PHX-GMS
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                                                                                                                              Plaintiffs,            STIPULATION TO DISMISS WITH
                                                                                                   19                                                PREJUDICE
                                                                                                               v.
                                                                                                   20
                                                                                                        Namecheap, Inc., et al.,
                                                                                                   21
                                                                                                                              Defendants.
                                                                                                   22
                                                                                                        AND RELATED COUNTERCLAIMS.
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                                                                                                    1          Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the parties
                                                                                                    2   hereby stipulate to the dismissal of this action, including all claims and counterclaims,
                                                                                                    3   with prejudice with each party to bear its own costs and fees.
                                                                                                    4   DATED: April 22, 2022                    SNELL & WILMER L.L.P.
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                                                                                                        DATED: April 22, 2022
                                                                                                   18                                          ROME & ASSOCIATES, A.P.C.
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                                                                                                                                               Counterclaimants,
                                                                                                   26                                          Namecheap, Inc. and WhoisGuard, Inc.
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